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 1                   2025 Hf.Y I 3ujttJ1E!n)tirATES BANKRUPTCY COURT
 2                                 , EASTERN DISTRICT OF MISSOURI

 3

 4     IN RE:

 5                                                           Case No.: 25-40977

 6     23andMe Inc.                                          CONSUMER OBJECTION TO

 7                                                           SALE OF PERSONALLY

 8                                                           IDENTIFIABLE INFORMATION

 9

10              Movant David S Neal, herein respe<.:Ltully requests that this Honorable Court enter a

11     protective order prohibiting the transfer or sale of his personally identifiable information to any

12     third party for any reason, based upon 11 USC 363( b )(1) and the facts set fmih below.

13

14              I. On March 24, 2025, movant became aware of this bankruptcy filing by 23and Me Inc.

15              2. Movant is a customer of debtor 23and Mc Inc.

16              3. Movant submitted genetic samples to debtor for genetic testing.

17              4. Debtor is in possession of movant's personal information including highly sensitive

18     genetic information.

19              5. Movant attempted to delete his personal information from debtor's systems on March

20     24, 2025.

21              6. However debtor's systems are malfunctioning and responded with a message "Well,

22     this is embarrassing". (Exhibit I)




       -------------------------------------------------

       OBJECTION TO SALE                                                                         Page 1 of 4
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 1            7. Debtor's failure to honor rnovant's request for data deletion is a violation of debtor's

 2     privacy policy.

 3                8. Debtor's intention to sell rnovant's personal information despite his desire to have his

 4     data deleted is a violation of 11 USC 363(b )( 1) and is fraudulent.

 5            9. Movant suggests to this Honorable Court that he is probably not the only consumer

 6     wishing to delete/protect their PII and that debtor may be systematically denying data deletion

 7     requests in an eff011 to preserve records to receive an increased valuation in the debtor's sale.

 8

 9            WlTEREFORE, movant requests that this Honorable Court, deny the bankrnptcy

10     application of debtor 23andme Inc. until such time as debtor has processed his data deletion

11     request.

12

13     Dated: March 24, 2025                                            Respectfully submitted,

14                                                                      /s/ DAVIDS NEAL

15

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       OBJECTION TO SALE                                                                           Page 2 of 4
    Case 25-40976   Doc 408        Filed 05/13/25 Entered 05/13/25 12:35:45                                       Main Document
                                               Pg 3 of 5




1     EXHIBIT 1


2

                                        ,I     !




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      OBJECTION TO SALF,                                                                                            Page 3 of 4
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                                                 Pg 4 of 5




 1                                UNITED STATES BANKRUPTCY COURT

 2                                  EASTERN DISTRICT OF MJSSOURT

 3

 4     IN RE:

 5                                                          Case No.: 25-40977

 6     23andl\'le Inc.                                      AFFIRMATION OF SERVICE

 7     a/k/a/ Chrolll{' Merge SH!}, In~.

 8              Debtor.

 9

10

11     I, David S Neal, declare under penalty of pe1:jury, that Tserved a copy of the attached

12     Consumer's Objection upon all other panics in this case by email to the following persons:

13

14              Joseph Schlotzhauer. Trial Attorney         Joscph .sch lot/ll:1 ucndusdoj. gov
15              Carole J Ryczek                             carok.ryczek(l'i),usdoj .gov

16              Thomas H. Riske                              thr(?L:carmodymacdonald. com

17

18     Dated: March 24, 2025                                        Respectfully submitted,

19                                                                  /s/ DAVIDS NEAL

20

                                                                     0{d-vvJ. S. /JdX--
                                                                     s- 5--if

       OBJECTION TO SALE                                                                          Page 4 of 4
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                                             Pg 5 of 5

                                UNITED ST ATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MISSOURI
                                  THOMAS F. EAGLETON U.S. COURTHOUSE
                                  111 SOUTH TENTH STREET, FOURTH FLOOR
                                         ST. LOUIS, MISSOURI 63102
                                             www.moeb.uscourts.gov
  DANA C. Mew A y                                                                                        (314) 244-4500
  CLERK OF COURT                                                                             MCVCIS (866) 222-8029, #87
                                                                                                    FAX (3 14) 244-4990
DIANA DURKEE AUGUST                                                                               PACER(3I4)244-4998
 CHIEF DEPUTY CLERK




TO:                    David Neal
                       111 Centrenest Ln
                       Wilmington DE 19807

DATE:                  April 29, 2025

RE:                    Objection to Sale

CASE NAME:             25-40976 23andMe Inc

        The enclosed documents are being returned to you for the following reasons:

(181)                  Pleading was not signed or does not contain an original signature by the filer.


                                                                     Dana Mc Way, Clerk
                                                                     U.S. Bankruptcy Court



                                                                     Jessica Zupnik
                                                                     Deputy Clerk
                                                                     United States Bankruptcy Court
                                                                     Eastern District of Missouri
                                                                     111 S. Tenth Street, 4th Floor
                                                                     St. Louis, MO 63102
                                                                     314-244-4500
